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 8                                                                    
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
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13   UNITED STATES OF AMERICA,                         )   NO. CR 11-CR-203 PJH
                                                       )
14           Plaintiff,                                )   STIPULATION TO CONTINUE DETENTION
                                                       )   HEARING FROM FEBRUARY 21, 2023, TO
15      v.                                             )   FEBRUARY 22, 2023, ORDER
                                                       )
16   ALTON STRICKLAND,                                 )
                                                       )
17           Defendant.                                )
                                                       )
18

19           It is hereby stipulated by and between counsel for the United States and counsel for the
20 defendant Alton Strickland, that the scheduled status and detention hearing be continued from February

21 21, 2023, to February 22, 2023.

22           At the initial appearance on the filed Form 12 held on February 17, 2023, probation represented
23 to the Court that it intended to do a home visit to assess the potential for Mr. Strickland’s release there.

24 Probation has informed the government that it will not be able to conduct that visit prior to court on

25 February 21 given that February 20 is a holiday. The parties jointly request that the matter be continued

26 to February 22 so that probation can complete the necessary assessment.

27           The undersigned Assistant United States Attorney certifies that she has obtained approval from
28 counsel for the defendant to file this stipulation and proposed order.

     STIPULATION TO CONTINUE AND ORDER
     Case No. CR 11-cr-203                                                                       v. 7/10/2018
              Case 4:11-cr-00203-PJH Document 15 Filed 02/17/23 Page 2 of 2




 1

 2          IT IS SO STIPULATED.

 3 DATED:          2/17/23                                         /s/                  ___
                                                          ALETHEA M. SARGENT
 4                                                        Assistant United States Attorney

 5
     DATED:        2/17/23                                         /s/                ___
 6                                                        ELISSE LAROUCHE
                                                          Counsel for Defendant Alton Strickland
 7

 8                                                   ORDER

 9          Based upon the facts set forth in the stipulation of the parties and the representations made to the

10 Court, the status and detention hearing currently scheduled for February 21, 2023, is hereby continued to

11 February 22, 2023.

12          IT IS SO ORDERED.
                                                                                S DISTRICT
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           February 17, 2023
14 DATED: _________________




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                                                                            D I S T Magistrate Judge
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     STIPULATION TO CONTINUE AND ORDER
     Case No. CR 11-cr-203                                                                                       v. 7/10/2018
